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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                  No. 16 CR 337
         v.
                                                  Judge Ronald A. Guzman
 ROSALINDA PEREZ,
     also known as “Rosie;” and
 MANUELA CHAVEZ,
     also known as “Lita”

              GOVERNMENT’S CONSOLIDATED MOTIONS IN LIMINE

        The UNITED STATES OF AMERICA, through JOHN R. LAUSCH JR., United

States Attorney for the Northern District of Illinois, respectfully submits the

following consolidated motions in limine.

I.      BACKGROUND

        On April 9, 2019, a grand jury returned a three-count third superseding

indictment alleging that between 2012 and September 2015, defendants Rosalinda

Perez and Manuela Chavez conspired with Willie Slater, Individual A, and others to

knowingly and intentionally possess with intent to distribute and distribute heroin

and cocaine, in violation of Title 21, United States Code, Section 846 (Count One).

Further, the indictment charged Perez with distributing 100 grams or more of heroin

on August 16, 2015, in violation of Title 21, United States Code, Section 841 (Count

Two), and both Perez and Chavez with distributing heroin on August 28, 2015, in

violation of Title 21, United States Code, Section 841 (Count Three). The conspiracy

and distribution counts allege mandatory minimum quantities of heroin as to Perez.
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         The government expects that, at trial, the evidence will show that between

2012 and September 2015, the defendants distributed large quantities of heroin and

cocaine to Slater and others on the south side of Chicago. The defendants were co-

owners of Roma III LLC, known as “The Basement,” a clothing store at 4723 S.

Ashland Avenue in Chicago where they sold sock, t-shirts, and other goods. They also

distributed narcotics. Slater will testify that during the conspiracy period, Perez

supplied him with an average of roughly one kilogram of heroin and one kilogram of

cocaine per month. Chavez and at least one other Roma III employee, Individual A,

assisted Perez in distributing narcotics and receiving narcotics payments at

Roma III.

         Specifically, on August 16, 2015, Perez fronted to Slater what was supposed to

be two half kilograms of heroin, which Slater turned over to law enforcement the

following day. During the course of his cooperation with the FBI, in August and

September 2015, Slater made four controlled payments of money to Perez, Chavez,

and Individual A to pay back what he owed for that kilogram. The conspirators also

fronted Slater an additional kilogram on August 28, 2015.

II.      DEFENDANT SHOULD BE PRECLUDED FROM CROSS-EXAMINING THE
         COOPERATING WITNESS ABOUT CERTAIN PRIOR CONVICTIONS AND ARRESTS.

         The government has disclosed to defendants the criminal history and

underlying arrest records of Willie Slater, who the government may call at trial. The

government moves under Federal Rules of Evidence 608(b), 609, and 403, to bar the

defendants from cross-examining Slater about aspects of his criminal history, which

includes five convictions and additional arrests.


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       A.      Criminal History and Prior Bad Acts

       Willie Slater has the following prior convictions: (1) a September 27, 2012,

conviction for possession of a controlled substance for which he was sentenced to 30

months’ probation; (2) a March 9, 2007, conviction for manufacturing or delivering a

controlled substance for which he was sentenced to 30 months’ probation; (3) a July

23, 2004, conviction for possession of cannabis for which he was sentenced to 2 years’

probation; (4) a February 19, 1997, conviction for possession of a shotgun for which

he was sentenced to 3 years’ imprisonment; and (5) a November 18, 1996, conviction

for manufacturing or delivering cannabis for which he was sentenced to 12 months’

probation.

       Slater has the following additional arrests: 1 (1) an October 2011 arrest for

possession of cannabis; (2) a December 2003 arrest for possession of cannabis; (3) a

February 1999 arrest for possession of cannabis; (4) a January 1999 arrest for

criminal trespass to vehicles; (5) an October 1998 arrest for manufacture/delivery of

cannabis; (6) a September 1998 arrest for drinking alcohol on the public way; (7) a

February 1998 arrest for driving without a license; (8) an October 1996 arrest for

criminal trespass to vehicles; and (9) a January 1995 arrest for mob action.

       Further, the government has disclosed the evidence gathered during its

investigation of Slater, which includes uncorroborated statements about Slater’s

prior bad acts. Specifically, in late 2013, an associate of Slater’s was murdered. One




1 For many of these arrests, it is unclear whether Slater was ever formally charged, but—absent a
conviction—whether he was charged is immaterial under Rules 608 and 609. Nevertheless, for present
purposes, the government assumes Slater was charged in each instance.

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confidential source of information told the FBI s/he believed Slater was responsible

for the murder. Another confidential source of information named a second

individual.

      B.      The Court Should Preclude Cross-Examination Regarding
              Convictions that Do Not Bear on Truthfulness.

      The Court should preclude cross-examination regarding convictions of Slater

that are not probative of truthfulness. As a general matter, under Federal Rule of

Evidence 608(b), a defendant is permitted to inquire into specific bad acts of a witness

only if such acts are “probative of truthfulness or untruthfulness,” United States v.

Manske, 186 F.3d 770, 774 (7th Cir. 1999), and if the probative value of the evidence

outweighs any unfairly prejudicial effect. United States v. Saunders, 166 F.3d 907,

920 (7th Cir. 1999). Similarly, Rule 609(a) permits the introduction of a witness’s

criminal convictions unless the probative value of the evidence is substantially

outweighed by its prejudicial effect. Fed. R. Evid. 609(a), 403. The purpose of these

Rules “is to allow a party to attempt to cast doubt on a witness’s reliability for telling

the truth.” Varhol v. Nat’l R.R. Passenger Corp., 909 F.2d 1557, 1567 (7th Cir. 1990)

(en banc).

      Beginning first with Slater’s prior convictions, the government does not seek

to bar admission of Slater’s 2012 conviction, which occurred within the past 10 years

and is thus presumptively admissible under Rule 609(a)(1)(A). The government does

request that the defendants be barred from impeaching Slater with his other

convictions, which occurred more than 10 years ago and are therefore subject to the

limitations of Rule 609(b). Pursuant to this rule, “impeachment by a conviction falling


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outside the rule’s ten-year time limit should be permitted only in rare and exceptional

circumstances.” United States v. Rogers, 542 F.3d 197, 201 (7th Cir. 2008); see United

States v. Fallon, 348 F.3d 248, 254 (7th Cir. 2003) (quoting United States v. Shapiro,

565 F.2d 479, 481 (7th Cir. 1977)). This question is not a close call when it comes to

the convictions for narcotics offenses or for possession of a shotgun. These crimes say

nothing about Slater’s present-day credibility, let alone something that substantially

outweighs the prejudicial effect. See United States v. Miller, 782 F.3d 793, 801 (7th

Cir. 2015) (affirming district court’s decision to bar questions about cooperating

witness’s 40-year-old conviction for heroin possession). Regarding the older narcotics

offenses, the government does not seek to hide the fact that Slater has a history of

narcotics trafficking – he will testify along these lines. However, questions about the

convictions or the facts underlying them would be an unnecessary deviation from the

issues at hand in this case.

       C.     The Court Should Preclude Cross-Examination Regarding
              Arrests or Conduct Not Resulting in Conviction.

       By its express terms, Rule 609 permits evidence only of convictions, not

arrests. 2 Any marginal relevance of such arrests is substantially outweighed by the

risk of unfair prejudice, confusion of the issues, and misleading the jury. If the jury

is presented with references to or evidence of the Slater’s additional arrests, the jury


2More specifically, Rule 609 allows for the admission of a witness=s felony conviction for
purposes of impeachment under certain specified circumstances. Under the Rule, A[f]or the
purpose of attacking the credibility of a witness, evidence that a witness other than an
accused has been convicted of a crime shall be admitted, subject to Rule 403, if the crime was
punishable by death or imprisonment in excess of one year under the law under which the
witness was convicted. . . .@ Fed. R. Evid. 609.


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may improperly conclude that it need not give the same weight to his testimony as it

would to those who do not have these prior arrests, or that Slater was convicted

of/guilty of the crimes for which he was arrested. Any of these conclusions would be

improper and would cause undue prejudice to the government’s case.

      Nor are arrests or ramifications short of conviction admissible under Fed. R.

Evid. 608(b). Rule 608(b) provides that specific instances of past conduct may be

inquired into on cross-examination if and only if they concern the witness’s character

for truthfulness. Courts have construed Rule 608(b) to restrict cross-examination on

prior arrests absent special facts bearing on the witness’s character for the specific

trait of truthfulness. See Cruz v. Safford, 579 F.3d 840, 844-45 (7th Cir. 2009)

(upholding exclusion of prior arrests because they had no bearing on truthfulness);

United States v. Mitchell, 502 F.3d 931, 967 (9th Cir. 2007) (upholding exclusion of

prior theft, not resulting in a conviction, because it has no bearing on truthfulness);

United States v. McCarroll, No. 95 CR 48, 1996 WL 99442, at *12 (N.D. Ill. Mar. 4,

1996) (excluding arrests for battery and theft and stating that, A[i]n general, arrests

and charges which did not lead to a conviction cannot be used for impeachment.@).

      The defendants should be barred from asking questions about Slater’s prior

arrests. None of these arrests could reasonably be argued to be relevant in any way

to the question of Slater’s truthfulness. The fact that Slater was arrested for

possessing cannabis, criminal trespass to vehicles, and mob action sheds no light on

whether Slater will tell the truth in this case. United States v. Neely, 980 F.2d 1074,




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1080 (7th Cir.1992) (“[T]he purpose of admitting prior arrests or convictions is not to

show that the witness is a bad person or a ‘non-saint,’ but to impeach his credibility.”)

       The same goes for rumors and speculation about Slater’s involvement in a

murder that has nothing to do with the crime charged here. Courts have excluded

cross-examination into prior alleged bad acts of witnesses, including even allegations

of violence. See, e.g., United States v. Holt, 486 F.3d 997, 1001-02 (7th Cir. 2007)

(defendant correctly prohibited from cross-examining an officer based on his thirty-

day suspension from police force for conduct not relevant to issue of truthfulness);

United States v. Miles, 207 F.3d 988, 994 (7th Cir. 2000) (court “correctly refused” to

let defendant cross-examine a witness regarding his oversight in failure to register a

gun because it did not “implicate fraud, deceit, or dishonesty.”); United States v.

Henderson, No. 11 CR 74, 2012 WL 698796, at *2 (N.D. Ill. Mar. 1, 2012); United

States v. Tate, 633 F.3d 624 (8th Cir. 2011) (disallowing allegation of assault as “not

probative of [the witness]’s character for truthfulness”). Even if Slater had been

arrested for murder (he was not), the fact of the arrest would be inadmissible because

it has no bearing on his truthfulness. As it stands, the record contains only

unsubstantiated, uncorroborated allegations of Slater’s involvement. 3 The probative

value is extremely limited, and the prejudice to Slater would be great.




3In Slater’s interview with the FBI on October 9, 2015, Slater denied involvement in any narcotics or
gang-related shootings.

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III.   THE COURT SHOULD EXCLUDE ARGUMENT, EVIDENCE, OR INQUIRY THAT
       MAY ENCOURAGE JURY NULLIFICATION.

       The government moves to preclude the defendants from arguing at trial that

the jury should disregard the Court’s instructions on the law or presenting evidence

or pursuing lines of inquiry designed to invite jury nullification. The law is plain that

it is improper for a defendant to suggest in any way that the jury should acquit the

defendant even if it finds that the government has met its burden of proof. See, e.g.,

United States v. Laguna, 693 F.3d 727, 730-31 (7th Cir. 2012) (district court properly

excluded evidence because, among other reasons, it had the potential to invite

nullification); United States v. Bruce, 109 F.3d 323, 327 (7th Cir. 1997) (“Jury

nullification is ‘not to be positively sanctioned by instructions,’ but is to be viewed as

an ‘aberration under our system.’”).

       The government cannot anticipate each form of potential jury nullification

argument or evidence. The government moves to exclude the potential areas noted

below, all of which are irrelevant to the elements of the crime charged, as well as any

argument or questioning, no matter what its form, that, in effect, “would encourage

a jury to acquit under any circumstances regardless of the applicable law or proven

facts.” United States v. Anderson, 716 F.2d 446, 450 (7th Cir. 1983) (citation omitted).

       A.    Arguments and Evidence Regarding Penalties Faced by
             Defendant Should Be Precluded.

       The defendants face a statutory maximum of life in prison and a $10 million

fine on each count. Perez faces a mandatory minimum sentence of 10 years. The

Seventh Circuit has made clear that “arguing punishment to a jury is taboo.” See,

e.g., United States v. Richardson, 130 F.3d 765, 778 (7th Cir. 1997), overturned on

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other grounds, 526 U.S. 813 (1999); United States v. Lewis, 110 F.3d 417, 422 (7th

Cir. 1997). Argument and evidence concerning punishment are improper because the

potential penalty faced by a defendant is irrelevant to the jury’s determination of

guilt or innocence. See, e.g., Shannon v. United States, 512 U.S. 573, 579, 578 (1994)

(“It is well established that when a jury has no sentencing function, it should be

admonished to ‘reach its verdict without regard to what sentence might be

imposed.’”); Aliwoli v. Carter, 225 F.3d 826, 830 (7th Cir. 2000) (same). 4 Mention of

the potential penalties faced by the defendants – including possible imprisonment or

fines – would serve only the improper purpose of inviting the jury to consider the

penal consequences of a conviction and, ultimately, nullification.

         B.      Argument or Questioning about the Motivation for
                 Investigating or Prosecuting this Case Should Be Precluded.

         The defendants are two of many individuals who were charged with drug

trafficking activities in related cases. There are other individuals involved, including

Individual A who worked at the Basement, who were not charged. The defendants

may thus try to present evidence, argument, or comment about individuals who were

not charged, or why the defendants were charged when others were not. The

defendants should be precluded from doing so.

         Evidence bearing on the government’s decision to prosecute is “extraneous and

collateral.” United States v. Johnson, 605 F.2d 1025, 1030 (7th Cir. 1979) (affirming

the exclusion of evidence offered to show that the “indictment was a political

instrument”). More specifically, evidence concerning whether and why certain


4   Pattern Jury Instruction 4.08 (2012) is consistent with this case law.
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individuals were charged or not charged is irrelevant to the question of defendant’s

guilt. See United States v. Young, 20 F.3d 758, 765 (7th Cir. 1994) (where defendant

claimed he did not knowingly participate in drug transaction, “[w]hether or not [co-

arrestee] was criminally charged does not make the facts relating to [defendant’s]

knowledge and participation in the attempted purchase more or less probable”) (citing

Fed. R. Evid. 401).

      Similarly, inquiries regarding the subjective intentions or motivations of a

government agent are irrelevant to determining the factual guilt or innocence of a

defendant. See, e.g., United States v. Goulding, 26 F.3d 656, 667 (7th Cir. 1994)

(noting, even in the context of an entrapment defense, it was proper for the trial court

not to “allow the defense to mount an inquiry into the mental states of the

investigating officers since such evidence was irrelevant”).

      For all of these reasons, the Court should preclude evidence or argument

concerning the government’s charging decisions and motivations for investigating.

      C.     Argument or Claims of Outrageous Government Conduct
             Should Be Precluded.

      The Seventh Circuit repeatedly has held that “[o]utrageous government

conduct is not a defense in this circuit.” United States v. Stallworth, 656 F.3d 721,

730 (7th Cir. 2011) (citation omitted); see also United States v. Sherman, 268 F.3d

539, 549-550 (7th Cir. 2001); United States v. Boyd, 55 F.3d 239, 241-42 (7th Cir.

1995) (“outrageous governmental misconduct” is no defense to a criminal charge, and

the jury thus should not be exposed to irrelevant allegations of this sort).

Furthermore, this Circuit held that the issue of government misconduct was a matter


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of law for determination by the court: “the issue of outrageous government conduct is

not a jury question.” United States v. Swiatek, 819 F.2d 721, 726 (7th Cir. 1987)

(noting that every circuit which has considered the issue has held that the issue is

not a jury question) (citations omitted).

      Yet, there is a “tendency in criminal cases to try some person other than the

defendant and some issues other than his guilt.” United States v. Griffin, 867 F. Supp.

1347, 1347 (N.D. Ill. 1994) (citation omitted). The “thrust of the defense” in these

types of cases “is this: the prosecution was not nice or could have done it better and

so the jury ought to acquit, whether or not guilt has been proved beyond a reasonable

doubt.” Id. at 1347. For example, Perez argued in her motion to suppress that the

government “abducted” her from her car on April 20, 2016, and that law enforcement

“intimidated and threatened” Perez into giving a statement. See R. 65 at 2. In the

face of this tendency to interject themes of “government misconduct” into a defense

strategy, courts routinely have granted motions in limine “to bar defendants from

presenting evidence or making arguments to the jury suggesting that they should be

acquitted because the government engaged in misconduct in the course of its

investigation.” United States Shields, 1991 WL 236492, at *3 (N.D. Ill. 1991); see also

United States v. Finley, 708 F. Supp. 906, 913-14 (N.D. Ill. 1989) (granting motion in

limine to preclude evidence “which is not relevant to defendants’ guilt but is designed

only to persuade the jury that defendants should be acquitted because the

government engaged in misconduct during its investigation”).




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        Accordingly, the government moves to bar the defendants from introducing

evidence or argument of outrageous government conduct. The defendants should be

precluded from attempting to defend this case at trial by attacking the propriety of

the government’s conduct.

IV.     THE COURT SHOULD PRECLUDE ARGUMENT OR EVIDENCE OF THE
        DEFENDANTS’ LAWFULNESS.

        The government moves to preclude the defendants from presenting evidence

of, or making reference to, their lawfulness, non-corrupt conduct, and prior good acts,

except reputation or opinion evidence offered by character witnesses strictly in accord

with Rule 405(a). 5

        In an effort to distract the jury from the charges at issue, the defendants may

seek to admit evidence and testimony that, on prior occasions, they acted in a lawful

manner. The government cannot foresee all the ways the defendants might inject this

issue into the trial. For example, in her motion to suppress and at the suppression

hearing, Perez repeatedly referenced her status as a grandmother and her concerns

about her family. See R. 65. She may attempt to argue that because she performed

good acts during her life lives or owned a business to support her family, she could

not have committed the charged offenses.




5 Even evidence offered under Rule 405(a) cannot include specific instances of good conduct:
it is limited to a description of the subject’s reputation or to a brief statement of opinion,
without support from specific instances of conduct. See Advisory Committee Notes to Rule
405 (The rule “contemplates that testimony of specific instances is not generally permissible
on direct examination of an ordinary opinion witness to character . . . [O]pinion testimony on
direct in these situations ought in general to correspond to reputation testimony as now
given, i.e. be confined to the nature and extent of observation and acquaintance upon which
the opinion is based.”).
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         “Evidence that a defendant acted lawfully on other occasions is generally

inadmissible to prove he acted lawfully on the occasion alleged in the indictment.”

United States v. Reese, 666 F.3d 1007, 1020 (7th Cir. 2012); United States v. Heidecke,

900 F.2d 1155, 1162 (7th Cir. 1990) (“Proof that a defendant acted lawfully on other

occasions is not necessarily proof that he acted lawfully on the occasion alleged in the

indictment.”); United States v. Scarpa, 897 F.2d 63, 70 (2d Cir. 1990) (upholding

exclusion of evidence that defendants met regularly and did not discuss criminal

activity; “[a] defendant may not seek to establish his innocence . . . through proof of

the absence of criminal acts on specific occasions.”); United States v. Johnson, No. 08

CR 466, 2011 WL 809194, at *4 (N.D. Ill. Mar. 2, 2011) (concluding that “evidence of

specific lawful acts of Defendants is not properly introduced to show that Defendants

did not have the requisite intent to commit the crimes charged”). Evidence that the

defendants committed specific instances of good conduct is not proof that they did not

participate in the narcotics trafficking charged in the indictment.

         Thus, any evidence or argument regarding the defendants’ alleged good acts or

non-corrupt conduct is irrelevant and should be excluded.

V.       THE COURT SHOULD PROHIBIT DISCOVERY REQUESTS OR COMMENTARY IN
         THE PRESENCE OF THE JURY.

         Commentary regarding discovery, including discovery disputes and requests,

should not be made in the presence of the jury. Requests for, and motions related to,

discovery made in front of the jury are inappropriate and may create the impression

that one side has suppressed information as a means of seeking an unfair advantage.

In fact, as often happens, counsel’s requests are ill-founded because the discovery


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already has been tendered or is not subject to disclosure. In any event, these requests

should be made to the Court or opposing counsel outside the presence of the jury with

no prejudice resulting to either side. Accordingly, the government moves the Court to

order that requests for discovery or comments relating to discovery be made outside

the presence of the jury. See, e.g., United States v. Gray, No. 07 CR 166, 2010 WL

1258169, at *3 (N.D. Ind. Mar. 26, 2010) (granting government’s motion to preclude

the defense from requesting or commenting on discovery in the presence of the jury).

VI.   THE COURT SHOULD PRECLUDE COMMENTARY REGARDING THE COURT’S
      EVIDENTIARY RULINGS.

      If the Court excludes evidence offered by either side, counsel should be barred

from referring to this excluded evidence or otherwise commenting on the Court’s

evidentiary ruling in front of the jury. There is no legitimate reason for counsel to do

so. Moreover, it is improper for counsel to comment on excluded evidence or suggest

that excluded evidence would have affected the jury’s analysis had only the Court

admitted it. See Solles v. Israel, 868 F.2d 242, 245 (7th Cir. 1989) (criticizing

prosecutor’s “improper remarks in front of the jury including commenting on excluded

evidence” as part of a litany of errors and improprieties). Motions in limine are

counsel’s opportunity to argue regarding the relevancy or propriety of evidence; once

the court has ruled, the matter is concluded and counsel are not free to decide for

themselves that the evidence is actually admissible.




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VII.    DEFENDANT SHOULD BE PRECLUDED FROM MAKING ANY ARGUMENT
        REGARDING WITNESSES NOT CALLED BY EITHER PARTY.

        The government moves to bar the defendants from making arguments at trial

based on missing witnesses. “[W]hen the witness is equally available to both sides,

the preferred practice is to preclude the [missing witness] argument rather than to

leave the jury free to speculate about a lot of non-evidence.” United States v. Simpson,

974 F.2d 845, 848 (7th Cir. 1992).

        Here, the government does not plan to call every witness to the narcotics

conspiracy and possession charged in the indictment. All other potential witnesses,

including those who worked at the Basement and were never charged, are equally

available to both sides. The defendants have the ability to subpoena witnesses.

Therefore, the government requests that the Court prohibit the defendants from

introducing evidence about, or arguing that any relevant inference can be drawn

from, the fact that additional witnesses did not testify at trial. 6




6 Alternatively, if the Court allows defendant to introduce evidence or make any such
argument regarding missing witnesses, the government seeks permission to respond to this
argument appropriately. Ordinarily, a prosecutor may reply to “an argument by the defense
that the absence of some witness counts against the prosecution” by pointing out that the
defense has the same subpoena power as the government. Sblendorio, 830 F.2d at 1392;
see also United States v. Aldaco, 201 F.3d 979, 988 (7th Cir. 2000) (“[I]t was not improper for
the prosecutor to make clear to the jury that the defendant, like the government, has the
power to subpoena any witness or witnesses relevant to the case after [the defendant’s]
counsel had opened the door to this reply argument by the prosecution.”).
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VIII. CONCLUSION

      For the foregoing reasons, the government respectfully requests that the Court

grant the government’s motions in limine.

                                             Respectfully submitted,

                                             JOHN R. LAUSCH, JR.
                                             United States Attorney

                                      By:     /s/ Christine M. O’Neill
                                             CHRISTINE M. O’NEILL
                                             SEAN J.B. FRANZBLAU
                                             Assistant United States Attorneys
                                             219 South Dearborn Street
                                             Chicago, Illinois 60604
                                             (312) 353-5300

Dated: April 18, 2019




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